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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

 -v-
                                                           23-mj-5219
                                                             ORDER
 HOWARD HINKLE, JR. and
 DILLON ANDERSON,
              Defendants.


       This Order is entered, pursuant to Federal Rule of Criminal Procedure 5(f)

and the Due Process Protections Act, Pub. L. No 116-182, 134 Stat. 894 (Oct.

21, 2020), to confirm the Government’s disclosure obligations under Brady v.

Maryland, 373 U.S. 83 (1963), and its progeny, and to summarize the possible

consequences of violating those obligations.

       The Government must disclose to the defense all information “favorable to

an accused” that is “material either to guilt or to punishment” and that is known

to the Government. Id. at 87. This obligation applies regardless of whether the

defendant requests this information or whether the information would itself

constitute admissible evidence. The Government shall disclose such information

to the defense promptly after its existence becomes known to the Government

so that the defense may make effective use of the information in the preparation

of its case.

       As part of these obligations, the Government must disclose any information

that can be used to impeach the trial testimony of a Government witness within

the meaning of Giglio v. United States, 405 U.S. 150 (1972), and its progeny.

Such information must be disclosed sufficiently in advance of trial in order for the

defendant to make effective use of it at trial or at such other time as the Court



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may order. 1 The foregoing obligations are continuing ones and apply to materials

that become known to the Government in the future. These obligations also apply

to information that is otherwise subject to disclosure regardless of whether the

Government credits it.

        In the event the Government believes that a disclosure under this Order

would compromise witness safety, victim rights, national security, a sensitive

law-enforcement technique, or any other substantial government interest, it may

apply to the Court for a modification of its obligations, which may include in

camera review or withholding or subjecting to a protective order all or part of the

information otherwise subject to disclosure. 2

        For purposes of this Order, the Government has an affirmative obligation

to seek all information subject to disclosure under this Order from all current or

former federal, state, and local prosecutors, law enforcement officers, and other

officers who have participated in the prosecution, or investigation that led to the

prosecution, of the offense or offenses with which the defendant is charged.

        If the Government fails to comply with this Order, the Court, in addition to

ordering production of the information, may:

        (1) specify the terms and conditions of such production;

        (2) grant a continuance;

        (3) impose evidentiary sanctions;




        1 This Order does not purport to set forth an exhaustive list of the Government’s disclosure obligations.

        2 The Classified lnformation Procedures Act sets forth separate procedures to be followed in the

event that the Government believes matters relating to classified information may arise in connection with
the prosecution. See 18 U.S.C. APP. 3 § 3 et seq.



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      (4) impose contempt or other sanctions on any lawyer responsible for

violations of the Government’s disclosure obligations, or refer the matter to

disciplinary authorities.

      (5) dismiss charges before trial or vacate a conviction after trial or a guilty

plea; or

      (6) enter any other order that is just under the circumstances.


SO ORDERED.

Dated:        October 25, 2023
              Buffalo, New York
                                      /s/ Michael J. Roemer
                                      United States Magistrate Judge




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